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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


EDDIE L. BOLDEN,                          )
                                          ) Appeal from the United States
                  Plaintiff-Appellee,     ) District Court, Northern District of
                                          ) Illinois, Eastern Division
        v.                                )
                                          ) No. 17 CV 0417
ANGELO PESAVENTO, JAMES OLIVER,           )
Estate of EDWARD SIWEK, Estate of         ) The Honorable
GEORGE KARL, CITY OF CHICAGO,             ) Steven C. Seeger,
                                          ) Judge Presiding.
                   Defendants-Appellants. )
______________________________________________________________________________

                                    NOTICE OF APPEAL

       Defendants ANGELO PESAVENTO, JAMES OLIVER, Estate of EDWARD SIWEK,

Estate of GEORGE KARL, and CITY OF CHICAGO, by their attorneys, hereby appeal to the

United States Court of Appeals for the Seventh Circuit from the amended judgment of the United

States District Court for the Northern District of Illinois entered April 12, 2024 (R. 733), which

entered judgment in favor of Plaintiff Bolden and against Defendants Pesavento, Oliver, the Estate

of Edward Siwek, and the Estate of George Karl on Counts I, II, III, V, VI, VII, and VIII in the

amount of $25,000,000 in compensatory damages, plus $7,629,466.51 in prejudgment interest;

$100,000 in punitive damages against Defendant Pesavento; $100,000 in punitive damages against

Defendant Oliver; and $5,120,844 in attorney’s fees and costs against Defendants Pesavento,

Oliver, the Estate of Edward Siwek, and the Estate of George Karl; and also entered judgment in

favor of Plaintiff Bolden and against Defendant City of Chicago on Count IX (respondeat superior)

and Count X (indemnification). All defendants also appeal from all adverse orders entered prior

to the amended judgment.

       By this appeal, defendants will ask the court of appeals to reverse the district court’s
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judgment, orders, and rulings, and grant such other relief as they may be entitled to on this appeal.

                                              Respectfully submitted,

                                              Attorneys for City of Chicago

                                              /s/ Tiffany S. Fordyce

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                               CERTIFICATE OF SERVICE

         The foregoing NOTICE OF APPEAL has been electronically filed on April 22, 2024. I
certify that I have caused the foregoing NOTICE OF APPEAL to be served on all counsel of record
via CM/ECF electronic notice on April 22, 2024.

                                           s/ Tiffany S. Fordyce
